                                  Case 23-16797-RAM                  Doc 1        Filed 08/25/23            Page 1 of 15


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Property Advocates, P.A.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA The Strems Law Firm
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2525 Ponce De Leon Blvd, Suite 600
                                  Coral Gables, FL 33134
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.thepropertyadvocates.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                   Case 23-16797-RAM                     Doc 1         Filed 08/25/23              Page 2 of 15
Debtor    The Property Advocates, P.A.                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5411

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                       Case 23-16797-RAM                       Doc 1       Filed 08/25/23              Page 3 of 15
Debtor    The Property Advocates, P.A.                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                           Case 23-16797-RAM                Doc 1       Filed 08/25/23             Page 4 of 15
Debtor   The Property Advocates, P.A.                                                Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                 Case 23-16797-RAM                    Doc 1         Filed 08/25/23             Page 5 of 15
Debtor    The Property Advocates, P.A.                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 25, 2023
                                                  MM / DD / YYYY


                             X /s/ Hunter Patterson                                                       Hunter Patterson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Paul N. Mascia                                                          Date August 25, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul N. Mascia
                                 Printed name

                                 Nardella & Nardella, PLLC
                                 Firm name

                                 135 W. Central Blvd
                                 Suite 300
                                 Orlando, FL 32801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     407-966-2680                  Email address      pmascia@nardellalaw.com

                                 489670 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 23-16797-RAM         Doc 1    Filed 08/25/23    Page 6 of 15




                       RESOLUTIONS OF THE BOARD OF DIRECTORS
                          OF THE PROPERTY ADVOCATES, P.A.


       WHEREAS the Board of Directors (the “Board”) of The Property Advocates, P.A. (the
“Company”) held a special meeting of the Board on August 17, 2023, to review the operational
and financial condition of the Company its assets, liabilities and liquidity, and various alternatives
available thereto, and the impact of the foregoing on the Company’s business, clients, creditors
and other parties in interest;

         WHEREAS, the Board has received, reviewed and considered the recommendations of,
and had an opportunity to consult with, the management of the Company and the Company’s
legal and financial advisors as to various strategic alternatives available to the Company
including the relative risks and benefits of pursuing a bankruptcy proceeding under chapter 11
of title 11 of the United States Code;

        WHEREAS, the Board has determined in the exercise of its business judgment that it is
in the best interests of the Company, its creditors, and other parties in interest, that the Company
seek relief under the provisions of chapter 11 of the Bankruptcy Code; and

      WHEREAS, the Board wishes to authorize the officers of the Company to take all
necessary actions in connection with the execution and filing of the petition, schedules, and other
documents that they deem necessary or proper in connection with such proceedings under
Chapter 11 of the Bankruptcy Code; and

        WHEREAS, the Board has additionally reviewed, in connection with its consideration of
whether to file a case under Chapter 11 of the Bankruptcy Code, the desirability of engaging an
independent third party to serve as a Chief Restructuring Officer (the “CRO”) with the limited
scope of reviewing and potentially prosecuting potential claims or positions of the Company
concerning Scott Strems’ exit from the company and related transactions that may present a
direct conflict for the company’s current shareholders Hunter Patterson and Christopher Narchet
(the “Shareholders”), which include but may not be limited to, potential “claw back” claims against
such Shareholders (the “CRO Matter”); and

        WHEREAS, WHEREAS, the Board has determined in the exercise of its business
judgment to engage Mr. Phillip Von Kahle, President of Moecker & Associates, to serve as CRO
for the Company with respect to the limited scope set forth above.

       NOW, THEREFORE, BE IT RESOLVED, that after consultation with the Company’s legal
and financial advisors, in the judgment of the Board, it is desirable and in the best interests of
the Company, its creditors, and other parties in interest, that a petition be promptly filed by the
Company in the United States Bankruptcy Court for the Southern District of Florida (the
“Bankruptcy Court”) seeking relief under the provisions of chapter 11 of the Bankruptcy Code
and that Mr. Phillip Von Kahle with Moecker and Associates, P.A., be engaged as CRO for the
limited scope set forth herein; and be it further,
                 Case 23-16797-RAM        Doc 1       Filed 08/25/23   Page 7 of 15




       RESOLVED, that the Board hereby authorizes, directs and empowers the current officers
of the Company (an “Authorized Person”), acting alone or in combination to execute, deliver, file
and perform in the name and on behalf of the Company, all petitions, schedules, motions, lists,
applications, pleadings, orders and other documents (the “Chapter 11 Filings”) (with such
changes therein and additions thereto as the Authorized Person may deem necessary,
appropriate or advisable, the execution and delivery of any of the Chapter 11 Filings by such
Authorized Person with any changes thereto to be conclusive evidence that such Authorized
Person deemed such changes to meet such standard); and be it further

       RESOLVED, that any Authorized Person be, and hereby is, authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of the Company, to take and
perform any and all further acts and deeds that such Authorized Person deems necessary,
appropriate, or desirable in connection with the Company’s chapter 11 case (the “Chapter 11
Case”) or the Chapter 11 Filings (other than such acts and deeds that are within the scope of
the CRO’s engagement set forth above), including without limitation,(i) the payment of fees,
expenses and taxes such Authorized Person deems necessary, appropriate, or desirable
including, but not limited to, the retainer(s) or consideration for any professional(s) retained by
the Company with respect to the Chapter 11 Case, and (ii) negotiating, executing, delivering,
performing and filing any and all additional documents, schedules, statements, lists, papers,
agreements, certificates and/or instruments (or any amendments or modifications thereto) in
connection with, or in furtherance of, the Chapter 11 Case with a view to the successful
prosecution of such Chapter 11 Case (such acts to be conclusive evidence that such Authorized
Person deemed the same to meet such standard); and be it further

       RESOLVED, that the law firm of Nardella & Nardella, PLLC, located at 135 W Central
Blvd, Suite 300, Orlando, FL 32801, is hereby retained as attorneys for the Company in the
Chapter 11 Case, and be it further,

       RESOLVED, that Phillip Von Kahle is hereby appointed to serve as the CRO of the
Company, effective as of Von Kahle’s engagement letter to the Company dated July 25, 2023,
to serve within the limited scope set forth herein; and be it further,

         RESOLVED, that any and all past actions heretofore taken by an Authorized Person, any
director, or any member of the Company in its name and on behalf thereof, in furtherance of any
or all of the preceding resolutions be, and the same hereby are, ratified, confirmed, and approved
in all respects; and be it further,

       RESOLVED, that each Authorized Person, each of whom may act without the joinder of
any of the others, be, and each of them individually hereby are, authorized and directed, in the
name and on behalf of the Company, to take or cause to be taken all such further actions,
including without limitation, negotiating, signing, executing, acknowledging, certifying, attesting,
delivering, accepting, recording and filing (with such changes as such Authorized Person shall
approve, and delivery thereof or the take such other action to be conclusive evidence of such
approval) the Chapter 11 Case, the Chapter 11 Filings, and the retention of advisors and all such
further documents, agreements, certificates and instruments and paying all fees, taxes and other
expenses or payments, as such Authorized Person’s sole discretion, may determine to be
necessary, appropriate or desirable in order to fulfill the intent and accomplish the purposes of
                                                  2
                Case 23-16797-RAM       Doc 1       Filed 08/25/23   Page 8 of 15




the foregoing resolutions, such determination to be conclusively evidenced by the taking of any
such further action; and be it

       RESOLVED, FURTHER, that any actions taken by any Authorized Person, for or on
behalf of the Company, prior to the date hereof that would have been authorized by these
resolutions but for the fact that such actions were taken prior to the date hereof be, and they
hereby are, authorized, adopted, approved, confirmed and ratified in all respects as the actions
and deeds of the Company.


      BOARD OF DIRECTORS FOR                                    DATE: August 17, 2023
      THE PROPERTY ADVOCATES,
      P.A.



                                                                       August 17, 2023
      Hunter Patterson




                                                                       August 17, 2023
      Cecile Mendizabal



      ___________________________________________                      August 17, 2023
      Christopher Narchet




                                                3
    Case 23-16797-RAM   Doc 1   Filed 08/25/23   Page 9 of 15




8/25/2023
                                 Case 23-16797-RAM                    Doc 1         Filed 08/25/23                Page 10 of 15


 Fill in this information to identify the case:
 Debtor name The Property Advocates, P.A.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Law Office of                                       Judgment for              Disputed                                                                          $29,988.90
 Hernan Hernandez                                    legal fees
 5900 Hiatus Road
 Fort Lauderdale, FL
 33321
 Brenda Oramas                                       Judgment for              Disputed                                                                          $10,295.50
 8258 SW 148 PLACE                                   legal fees
 Miami, FL 33193
 Gregory                                             Lawsuit.         Disputed                                                                                 $230,150.23
 Saldamando                                          2023-018868-CA-0
 c/o Craig Lewis, Esq                                1, Miami-Dade
 Blilie Law                                          County, Florida
 235 Lincoln Rd, Ste.
 310
 Miami Beach, FL
 33139
 Luis Mena, Esq.                                     Judgment for              Disputed                                                                          $13,020.00
 9700 S. Dixie                                       legal fees as
 Highway, Suite 600                                  expert witness
 Miami, FL 33156
 Michael Patrick                                     lawsuit. Case No.         Disputed                                                                        $665,285.57
 c/o Sean McCleary,                                  23-007728 CA
 Esq.
 100 N Tampa St Ste
 2050
 Tampa, FL 33602
 NextPointe, Inc.                                    Vendor                                                                                                        $4,893.00
 1400 NW 107th Ave
 Ste 200
 Miami, FL 33172
 Scot Strems                                         Promissory Note           Unliquidated                                                                $35,589,785.00
 c/o Eduardo F                                                                 Disputed
 Rodriguez
 EFR Law Firm
 800 S. Douglas
 Road, Ste. 350
 Miami, FL 33134


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                 Case 23-16797-RAM                    Doc 1         Filed 08/25/23                Page 11 of 15



 Debtor    The Property Advocates, P.A.                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Small business                                      PPP loan                  Disputed                                                                      $1,219,750.00
 Admin
 409 3rd St., SW
 Washington, DC
 20416




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
    Case 23-16797-RAM   Doc 1   Filed 08/25/23   Page 12 of 15



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             Law Office of Hernan Hernandez
            5900 Hiatus Road
            Fort Lauderdale, FL 33321


            Allied Engineering
            8203 SW 124th Street
            Miami, FL 33156


            Bananas Group Inc.
            15600 SW 288th St Ste 310
            Homestead, FL 33033


            Boyar And Freeman, P.A.
            5551 N. University Dr., Suite 102
            Pompano Beach, FL 33067


            Brenda Oramas
            8258 SW 148 PLACE
            Miami, FL 33193


            Brian L Tannebaum, P.A.
            1 SE 3rd Ave
            Suite 2410
            Miami, FL 33131


            Christopher A Narchet
            c/o David Gay, Esq.
            2 Miami Central
            700 NW 1st Avenue, Ste. 1200
            Miami, FL 33136-4118


            CORELOGIC SPATIAL SOLUTIONS, LLC,
            1825-A Kramer Lane
            Austin, TX 78758


            Crown Castle Fiber LLC
            PO Box 28730
            Atlanta, GA 30374


            Digital Revolution LLC
            Reputations Resolutions
            333 W Hampden Ave
            Suite #1020
            Englewood, CO 80110
Case 23-16797-RAM   Doc 1   Filed 08/25/23   Page 13 of 15




        Fairway East Kennedy Owner, LLC
        PO Box 746117
        Atlanta, GA 30374


        Fairway East Kennedy Owner, LLC
        Attn: Managing Director
        800 N. Magnolia Ave
        Suite 1625
        Orlando, FL 32803


        GreatAmerica Financial Services
        PO Box 660831
        Dallas, TX 75266


        Gregory Saldamando
        c/o Craig Lewis, Esq
        Blilie Law
        235 Lincoln Rd, Ste. 310
        Miami Beach, FL 33139


        Hunter David Patterson
        c/o R. Scott Shuker, Esq.
        121 S. Orange Ave, Ste. 1120
        Orlando, FL 32801


        Legacy Parking Company
        255 S. Orange Ave
        Suite 106
        Orlando, FL 32801


        Luis Mena, Esq.
        9700 S. Dixie Highway, Suite 600
        Miami, FL 33156


        Michael Patrick
        c/o Sean McCleary, Esq.
        100 N Tampa St Ste 2050
        Tampa, FL 33602


        More Tech Business
        8133 N.W. 66 Street
        Miami, FL 33166


        NextPointe, Inc.
        1400 NW 107th Ave Ste 200
        Miami, FL 33172
Case 23-16797-RAM   Doc 1   Filed 08/25/23   Page 14 of 15




        Prisa Ponce de Leon, LLC
        Hines Holdings
        PO Box 978529
        Dallas, TX 75397


        Regus
        Presidential Circle
        4000 Hollywood Boulevard Hills
        suite 555-S
        Hollywood, FL 33021


        Scot Strems
        c/o Eduardo F Rodriguez
        EFR Law Firm
        800 S. Douglas Road, Ste. 350
        Miami, FL 33134


        Seven One Seven Parking
        1523 N. Franklin Street
        Tampa, FL 33602


        Small business Admin
        409 3rd St., SW
        Washington, DC 20416


        Smart Technologies of Florida
        PO Box 660831
        Dallas, TX 75266


        State of California
        Franchise Tax Board
        P.O. Box 942857
        Sacramento, CA 94257


        SWVP Orlando Office, LLC
        Attn: Legal Department
        12770 El Camino Real, Ste. 200
        San Diego, CA 92130


        Ver, Ploeg & Marino
        100 S.E. Second Street, Suite 3300
        Miami, FL 33131


        JP Morgan Chase Bank
        P.O. Box 9001022
        Louisville, KY 40290
Case 23-16797-RAM   Doc 1   Filed 08/25/23   Page 15 of 15




        JP Morgan Chase Bank
        P.O. Box 734007
        Dallas, TX 75373


        JP Morgan Chase Bank
        Attn: Cristina Ice
        1450 Brickell Ave, 15th Floor
        Miami, FL 33131
